 Case 2:00-cr-00130   Document 252   Filed 02/27/06   Page 1 of 6 PageID #: 98



                    UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON



KENNI RAYMON ALONZO,

           Movant

v.                                         CIVIL ACTION NO. 2:02-1456
                                           (Criminal No. 2:00-00130-01)

UNITED STATES OF AMERICA,

           Respondent



                      MEMORANDUM OPINION AND ORDER


           Pending are movant’s motions (1) pursuant to 28 U.S.C.

§ 2255, filed December 18, 2002, and (2) for an order requiring

the government to answer, filed January 4, 2006.


           Movant seeks the vacatur, set aside, or correction of

his sentence of 420 months, which was imposed following his

convictions at trial for (1) conspiracy to distribute more than

fifty grams of cocaine base (Count I), (2) distribution of

cocaine base (Count V), and (3) using, carrying, and possessing a

firearm during and in relation to a drug trafficking crime (Count

VI), in violation of 21 U.S.C. §§ 846, 841(a)(1), and 18 U.S.C. §

924(c) respectively.     Movant’s direct appeal was unsuccessful.
 Case 2:00-cr-00130   Document 252   Filed 02/27/06   Page 2 of 6 PageID #: 99



           Movant asserts two grounds for relief.           First, he

contends his conviction as to Count I was procured through the

knowing use of perjured testimony by witness Ronald Copeland.

Second, he asserts he was provided ineffective assistance of

counsel as a result of his lawyer’s failure to raise any

objection at trial, post-trial, at sentencing, or on direct

appeal, to the putatively perjured testimony.


           The court received the proposed findings and

recommendation of the United States Magistrate Judge filed on

June 4, 2003, pursuant to the provisions of 28 U.S.C. §

636(b)(1)(B).    On June 17, 2003, movant objected.           The movant

objects on the grounds that the proposed findings and

recommendation (1) omitted consideration of all “Evidentiary

Facts Necessary To A Proper Determination of the Issue” (Mov.’s

Objecs. at 1), (2) omitted consideration of the requirement that

a prosecutor has an affirmative duty to correct perjured

testimony, (3) erroneously concluded that the alleged perjured

testimony was immaterial, (4) erred in finding counsel did not

render ineffective assistance, and (5) failed to make a finding

as to movant’s claim counsel was ineffective for failure to raise

the perjury issue post-trial, at sentencing, or on direct appeal.




                                     2
 Case 2:00-cr-00130   Document 252   Filed 02/27/06   Page 3 of 6 PageID #: 100



                                     I.



           The court adopts the magistrate judge’s brief

recitation of the facts and procedural history.


           In view of the nature of movant’s objections, the court

has reviewed the quoted portions of the trial transcript

contained in both movant’s lengthy memorandum supporting his

section 2255 motion and his objections.          The perjury allegation

appears to be based solely upon (1) Copeland’s conflicting

testimony concerning whether he sold controlled substances to

advance the conspiracy, and (2) witness Tamaika Burger’s

testimony suggesting that Copeland participated in the sale of

controlled substances.


           Movant contends that “[t]he perjurious testimony of               .

. . Copeland could have affected the judgment of the jury,

especially as to the drug amounts involved.” (Mov.’s Memo. in

Supp. at 11).    Movant sums up his argument as follows:

     Had the jury known about Copeland’s true role in the
     distribution of crack charged against the defendants;
     or had the jury known that Copeland’s testimony was not
     credible or that he had committed perjury on the
     witness stand, “there is a reasonable likelihood” that
     the jury could have given less weight to his testimony
     as a whole and rejected the drug amounts he presented.
     Absent the drug amounts presented by Ronald Copeland,
     the Government could not have proven a conspiracy “in

                                     3
 Case 2:00-cr-00130   Document 252   Filed 02/27/06   Page 4 of 6 PageID #: 101



     excess of 50 grams” and so could not have convicted on
     Count One of the superseding indictment.

(Id. at 24-25).



                                     II.



           Our court of appeals discussed the standards governing

claims of wrongful conviction by use of perjured testimony in

United States v. Griley, 814 F.2d 967 (4th Cir. 1987):

     In some situations, the government's use of false
     testimony to obtain a conviction may violate the
     fourteenth amendment's due process clause. Before a
     constitutional violation is found, however, certain
     conditions must be present. Generally, due process is
     denied if the government knowingly uses perjured
     testimony against the accused to obtain a conviction.
     The government does not have to solicit the false
     evidence; it is enough if the government allows the
     evidence to go uncorrected when it surfaces.

          The burden of establishing Moran's perjury
     presents the greatest stumbling block for Griley. A
     defendant seeking to vacate a conviction based on
     perjured testimony must show that the testimony was,
     indeed, perjured. Mere inconsistencies in testimony by
     government witnesses do not establish the government's
     knowing use of false testimony.

Id. at 971-72.



           Movant has not made the requisite showing under Griley.

At a minimum, he has failed to show the government knowingly used

perjured testimony.      Although the movant does note



                                      4
 Case 2:00-cr-00130   Document 252   Filed 02/27/06   Page 5 of 6 PageID #: 102



inconsistencies in Copeland’s testimony, inconsistencies alone do

not lead ineluctably to knowing use by the government of false

testimony.


           Movant’s failure on this critical point is also fatal

to his claim of ineffective assistance of counsel.             For counsel’s

performance to be found constitutionally infirm, movant is

required to demonstrate that it was “‘deficient,’ and that this

‘deficient performance prejudiced the defense.’”             Vinson v. True,

No. 04-29, 2005 WL 3724917, at *3 (4th Cir. Feb. 1, 2006) (quoted

authority omitted).      Inasmuch as the allegation of perjury arises

merely from inconsistent trial testimony, counsel did not act

deficiently in failing to raise it at any point in the

proceeding.    As noted, testimonial inconsistencies alone do not

amount to perjury.



           Based upon the foregoing and the proposed findings and

recommendation of the Magistrate Judge, which are hereby adopted

and incorporated herein, the court concludes that the section

2255 motion should be denied.        The magistrate judge having

earlier found that the United States was not required to file an

answer, the court further ORDERS that the motion seeking an order

requiring the government to answer be, and it hereby is, denied.


                                      5
 Case 2:00-cr-00130   Document 252   Filed 02/27/06   Page 6 of 6 PageID #: 103



                                     III.



           It is, accordingly, ORDERED that the movant’s motion

pursuant to 28 U.S.C. § 2255 be, and it hereby is, denied.                The

court further ORDERS that this action be, and it hereby is,

dismissed and stricken from the docket.


           The Clerk is directed to forward copies of this written

opinion and order to the movant, all counsel of record, and the

United States Magistrate Judge.


                                            ENTER: February 27, 2006


                                            John T. Copenhaver, Jr.
                                            United States District Judge




                                      6
